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 8
                          UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
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11   CARON HOSSEINION,                                    Case No. 1:18-cv-00150-DAD-SAB

12                   Plaintiff,                           ORDER TRANSFERING CASE TO THE
                                                          CENTRAL DISTRICT OF CALIFORNIA
13           v.

14   MOHAMMAD HOSSEINION, et al.,

15                   Defendants.

16

17          Plaintiff Caron Hosseinion, who is committed at the California Department of State

18 Hospitals, is proceeding pro se in this civil action. Plaintiff filed a complaint on January 29,

19 2018, against Maya Hosseinion, Mohammad Hosseinion, Warren Hosseinion, and Warren
20 Hosseinion, Jr. According to Plaintiff’s complaint, she resides at the Patton State Hospital and

21 all defendants reside in Glendale, California.

22          The federal venue statute requires that a civil action, other than one based on diversity

23 jurisdiction, be brought only in “(1) a judicial district where any defendant resides, if all

24 defendants reside in the same state, (2) a judicial district in which a substantial part of the events

25 or omissions giving rise to the claim occurred, or a substantial part of the property that is the

26 subject of the action is situated, or (3) a judicial district in which any defendant may be found, if
27 there is no district in which the action may otherwise be brought.” 28 U.S.C. § 1391(b). The

28 Court has reviewed Plaintiff’s complaint and finds that venue does not lie in this district as none


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 1 of the venue requirements of section 1391 are met.

 2          It is unclear from the complaint where the incidents alleged in the complaint occurred.

 3 However, none of the parties reside in this district, and all of the defendants appear to reside in

 4 the Central District of California.

 5          Pursuant to 28 U.S.C. § 1406(a), when a case has been filed in the wrong district, the

 6 “district shall dismiss, or if it be in the interest of justice, transfer such case to any district or

 7 division in which it could have been brought.” Additionally Local Rule 120(f), provides that a

 8 civil action which has not been commenced in the proper court may, on the court’s own motion,

 9 be transferred to the proper court. Therefore, this action will be transferred to the Central

10 District of California. This court will not rule on Plaintiff's request to proceed in forma pauperis.

11          Good cause appearing, IT IS HEREBY ORDERED that:

12          1.      This action is transferred to the United States District Court for the Central

13                  District of California; and

14          2.      This court has not ruled on plaintiff's request to proceed in forma pauperis.

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     IT IS SO ORDERED.
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17 Dated:        January 31, 2018
                                                          UNITED STATES MAGISTRATE JUDGE
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